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                                                 May 5, 2020

VIA ECF
The Honorable Edward S. Kiel, U.S.M.J.
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

        Re:      ACP GP, LLC, et al. v. Motivational Coaches of America Inc., et al.
                 Docket No. 2:18-cv-13147

Dear Judge Kiel,

        This firm represents plaintiffs, ACP GP, LLC and Alleon Capital Partners, LLC
(“Plaintiffs”) in connection with the above-referenced action. Pursuant to the Court’s Order dated
April 6, 2020 (the “Case Management Order”), the parties were to submit a joint status letter not
later than three days prior to the conference currently scheduled for May 8, 2020 at 10:00 a.m.. A
draft of this correspondence was provided to Mr. Avael for his review and comment, however,
because no response was received, we respectfully submit this letter on behalf of Plaintiffs.

        A.       Pending Motions

       As the Court is aware, Defendant Julio Avael (“Defendant”) filed a request to stay
discovery in this matter on February 20, 2020 (Dkt. No. 52). Pursuant to the Case Management
Order, Plaintiffs were permitted to respond to Defendant’s request on or before April 20, 2020,
and, by way of letter on that date, Plaintiffs filed a letter in opposition to Defendant’s request (Dkt.
No. 57). Defendant’s request remains pending as of the date of this letter.

       Further, on December 16, 2019, Defendant filed a “Motion to Set Aside Orders DE 41 and
D.E. 43 Pursuant to F.R.C.P. 60(a) and Motion to Reconsider Defendant’s Motion to Dismiss for
Lack of Personal Jurisdiction, Improper Venue” (Dkt. No. 45), which Plaintiffs opposed on
January 7, 2020 (Dkt. No. 46). In addition, Plaintiffs’ Motion for Default Judgment as against the
corporate defendants (Dkt. No. 39) remains pending.

        B.       Status of Discovery

        Following a status conference on January 29, 2020, the Court entered an Order permitting
the parties to propound written discovery requests on or before February 28, 2020 (Dkt. No. 50).
On that date, Plaintiffs served written discovery on Defendant by way of email and regular mail.
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Pursuant to the Case Management Order, responses to those written discovery requests are due on
or before May 7, 2020. Defendant has not propounded any written discovery on Plaintiffs.

                                                ***

      At this time, the parties do not anticipate any other issues requiring attention at the
upcoming conference. We thank the Court for its attention to this matter.


                                                      Respectfully submitted,

                                                      s/ Stephen V. Falanga
                                                      Stephen V. Falanga


CC:    Julio Avael (via Email)
